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                       EXHIBIT	3	
	                      	
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                                                                                           US009237821B2


(12) United States Patent                                              (10) Patent No.:                          US 9.237,821 B2
       Geiger                                                          (45) Date of Patent:                                     Jan. 19, 2016
(54) ASSEMBLY FORMOUNTING SHADES                                    (58) Field of Classification Search
                                                                            CPC ........... A47H 1/13; B60J 1/2063; E06B 9/44;
(71) Applicant: Geigtech East Bay LLC, Charleston,                                                                     E06B 9/42: E06B 9/40
                      SC (US)                                               USPC ......................... 248/266, 267, 268,273, 252:
                                                                                                               160/323.1, 324, 325, 326
(72) Inventor: James Geiger, Charleston, SC (US)                            See application file for complete search history.
(73) Assignee: GEIGTECH EAST BAY LLC,                               (56)                     References Cited
                      Charleston, SC (US)
                                                                                      U.S. PATENT DOCUMENTS
(*) Notice:           Subject to any disclaimer, the term of this
                      patent is extended or adjusted under 35              26S
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(21) Appl. No.:              14/401,453                                    7,267,311 B2 * 9/2007 Jung ............................. 248,266
(22) PCT Filed:              May 15, 2013                                                        (Continued)
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(86). PCT No.:               PCT/US2013/041175
         371      1                                                 International Search Report and Written Opinion regarding PCT/
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       (2) Date:             Nov. 14, 2014
                                                                                                 (Continued)
(87) PCT Pub. No.: WO2013/173471
       PCT Pub. Date: Nov. 21, 2013                                 Primary Examiner — Anita MKing
               ub. Lale: INOV. A 1,                                 (74) Attorney, Agent, or Firm — Foley & Lardner LLP
(65)                        Prior Publication Data                  (57)                       ABSTRACT
       US 2015/O136941 A1             May 21, 2015                  The present embodiments provide for a system of fastening
                                  O O Dat
                Related U.S. Application                            devices,s e.g.,
                                                                              soos mounts,s brackets,s and assemblies for installing
                        e          pplication Uata                  roller window shades. In one embodiment, the fastening
(60) Provisional application No. 61/647,445, filed on May           device system comprises two one-piece, disk-shaped mount
     15, 2012.                                                      ing brackets, one for each end of a shade tube, wherein the
                                                                    mounting brackets are configured Such that, in use, the outer
(51) Int. Cl.                                                       circumference of the brackets are visible; the mounting
     E6B 9/17          (2006.01)                                    means being largely hidden within the bracket or by the
     A47H L/3          (2006.01)                                    shade. In a particular embodiment, the fastening system is
     E6B 9/50          (2006.01)                                    designed for use with motorized shades, wherein one mount
     A47H 5/14         (2006.01)                                    ing bracket is configured to key the shade motor, and one
(52) U.S. Cl.                                                       mounting bracket is configured to receive the idler pin.
     CPC. A47H 1/13 (2013.01); A47H 5/14 (2013.01);
                                E06B 9/50 (2013.01)                                  15 Claims, 16 Drawing Sheets
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          FIG. 6A                               FIG. 6B
                O          655                613




     1
   620
          SS2          Ha

                     623                    z       Y-621


   621
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                              FIG 10




 620
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                         FIG. 12A

                                                    1255
                                  OG



         to             (T), 12 3
          F.G. 12B                           FIG. 12C
                      1222A                           1222A




         1221 /

           FIG. 12D                        FIG. 12E
                       1222A                1222B      1222A
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                          FIG. 13A

                                                1355



         to                    Ez               1322A


  FIG. 13B FIG.13C FIG.13D FIG.13E
                          1322A
         1322A            E.          1322B          322A   1322B - 322
                          F.                                   E.   E.
        =                                 E.        F.         F - F.
        s                                  F.        Fl



 1321
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                              F.G. 14A




                                              423




                    F.G. 14C                          F.G. 14E
   FIG. 14B            1421       a FIG. 14D
                         N             11.                    N
                                                  N
    1422A




    1421

    1422B
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                            FIG. 15A




                   FIG. 15C
  FIG. 15B '' FG 15DFG. 15F
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                        FIG. 16A




           FIG. 16B                         FIG. 16C


                                                       1601


              1601
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                                  F.G. 17A
                        1455                         1455




                                                                    1423
      1423




                                  FIG. 17B




                               F.G. 17C
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                             FIG. 18A
                      1555                          1555




                                                                  1540B




                             FIG. 18B


                          1540A            1540B




                             FIG. 18C
                           1540A                      1540B
                     is
                      L1                               1.
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                                 FIG. 19A
                          1609                         1609




                   1611                              1611     1610

                                 FIG. 19B
                                         1901




                                 FIG. 19C
                                                    1901
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                         FIG 21
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                                                     US 9.237,821 B2
                              1.                                                                        2
       ASSEMBLY FOR MOUNTING SHADES                                    indicate the direction of Screws used to secure the mounting
                                                                       plate to a flat Surface (e.g., a window casing or wall).
           CROSS-REFERENCE TO RELATED                                     FIG. 2 shows the example embodiment of FIG. 1, with the
                  APPLICATIONS                                         bracket fitting over and around the mounting plate and the set
                                                                       screw inserted partially into the bracket.
  The present application is a U.S. national stage of and                FIG.3 shows a view of the installed embodiment of FIG. 1,
claims priority to and the benefit of International Application        wherein the outer circumference of the fastening device is
No. PCT/US2013/041175, entitled “Assembly for Mounting                 visible, and the mounting plate is not visible, and the set Screw
Shades, filed on May 15, 2013, which is incorporated herein       10
                                                                       is flush with the bracket.
by reference in its entirety.                                             FIGS. 4A-C are three configurations of an embodiment of
                                                                       the bracket, mounting plate, and set Screw embodiment,
                           FIELD                                       wherein the bracket is further configured as a Coupler, a Wall
                                                                       Mount Idler, or a Motor Wall Mount, respectively.
   The present invention relates to fastening devices such as     15      FIG. 5 presents a view of an alternative embodiment of the
mounts, brackets, bracket assemblies, and mounting systems             invention, in which the mounting plate slides into and is
for the installation of motorized shades and shade systems.            hidden within the bracket.
                      BACKGROUND                                         FIGS. 6A-D show various views of a one-piece idler mount
                                                                       disk-shaped mounting bracket.
  Current brackets and mounts for roller window shades and               FIGS. 7A-D show various views of a one-piece motor
shade systems are typically bulky, visible, and may detract            mount disk-shaped mounting bracket.
from the aesthetics of the shade system. Hence, there remains            FIG.8 shows the mounting brackets of FIG. 6 and FIG. 7 in
a need for improved assembly for mounting shades and shade             use on a shade, depicted by dashed lines.
systems, including motorized shades.                                     FIG. 9 is a perspective view of an embodiment of the
                                                                  25   fastening device configured as a Coupler, installed with two
            SUMMARY OF THE INVENTION                                   tube shades. Note that the set screw is obscured by the shade,
                                                                       leaving a clean, simple bracket in view.
   The present embodiments provide for a system of fastening             FIG. 10 is a perspective view of a one-piece idler mount
devices, e.g., mounts, brackets, and assemblies for installing         disk-shaped mounting bracket installed with a tube shade.
roller window shades.                                             30
                                                                         FIG. 11 is a depiction of two tube shades assembled with
   In one embodiment, the fastening device system comprises            the fastening devices of some embodiments of the present
two one-piece, disk-shaped mounting brackets, one for each             invention.
end of a shade tube, wherein the mounting brackets are con               FIG. 12A is a top view of an idler mount according to an
figured such that, in use, the outer circumference of the brack        embodiment.
ets are visible; the mounting means being largely hidden          35
                                                                          FIGS. 12B-C are side and plan views, respectively, of the
within the bracket or by the shade. In a particular embodi             idler mount of FIG. 12A according to an embodiment.
ment, the fastening system is designed for use with motorized
shades, wherein one mounting bracket is configured to key                 FIGS. 12D-E are side and plan views, respectively, of the
the shade motor, and one mounting bracket is configured to             idler mount of FIG. 12A according to another embodiment.
receive the idler pin.                                            40      FIG. 13A is a top view of a motor mount according to an
   Another embodiment provides for a two-piece “invisible              embodiment.
mount fastening device comprising a mounting plate and a                 FIGS. 13 B-C are side and plan views, respectively, of the
bracket, each configured to receive a means to secure the              motor mount of FIG. 13A according to an embodiment.
bracket to the mounting plate; and, optionally, a securing               FIGS. 13D-E are side and plan views, respectively, of the
means. In use, the bracket Surrounds the mounting plate,          45   motor mount of FIG. 13A according to another embodiment.
obscuring it from view. In one embodiment, the fastening                 FIG. 14A is a top view of a dual idler mount according to an
device is configured to receive two ends of opposing shade             embodiment.
tubes (i.e., a shade coupler). In another embodiment, the                FIGS. 14B-C are side and plan views, respectively, of the
bracket is configured with a “key projection. In yet another           dual idler mount of FIG. 14A according to an embodiment.
embodiment, the bracket is configured to receive an idler pin.    50     FIGS. 14D-E are side and plan views, respectively, of the
   Yet another embodiment provides for a system for mount              dual idler mount of FIG. 14A according to another embodi
ing at least two tube shades comprising the mounting bracket           ment.
system (i.e., two disk-shaped mounting brackets) and at least            FIG. 15A is a top view of a dual motor mount according to
one “invisible mount two-piece shade coupler fastening                 an embodiment.
device. In a particular embodiment, at least one of the shades    55     FIGS. 15B-C are side and plan views, respectively, of the
is motorized.                                                          dual motor mount of FIG. 15A according to an embodiment.
   Another embodiment provides for a system for mounting                 FIGS. 15D-E are side and plan views, respectively, of the
at least two tube shades, comprising at least three two-piece          dual motor mount of FIG. 15A according to another embodi
“invisible mount fastening devices. In a particular embodi             ment.
ment, at least one of the shades is motorized and the system      60      FIGS. 16A-C are top, side and plan views, respectively, of
comprises a motor mount fastening device, a idler mount                a fastening device according to an embodiment.
fastening device, and at least one shade coupler.                         FIGS. 17A-C are top, side and plan views, respectively, of
                                                                       a dual idler mount according to an embodiment.
          DESCRIPTION OF THE DRAWINGS                                     FIGS. 18A-C are top, side and plan views, respectively, of
                                                                  65   a dual motor mount according to an embodiment.
  FIG. 1 shows a view of an example fastening device having               FIGS. 19A-C are top, side and plan views, respectively, of
a mounting plate, a bracket, and a set Screw. Dashed lines             a fastening device according to an embodiment.
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                              3                                                                        4
   FIG. 20 is a perspective view of a fastening device having            comprise a pin and cam assembly, a set screw, a rod and
brackets position at a 90 degree angle with respect to each              spring, etc., as will be illustrated further by non-limiting
other according to an embodiment.                                        embodiments herein.
   FIG. 21 is a perspective view of a bracket having an open               The fastening devices of embodiments of the present
ing therethrough according to an embodiment.                             invention can be made of any material Suitable for being
                                                                         manufactured and capable of bearing the weight of shades,
                DETAILED DESCRIPTION                                     Such as motorized shades. Such materials include metals,
                                                                         metal alloys, ceramics, plastics, and the like. The fastening
  The present invention is not limited to the particular meth            devices can be manufactured by conventional processes.
odology, protocols, and expression of design elements, etc.,        10     Reference will now be made in detail to embodiments of
described herein and as Such may vary. The terminology used              the present invention, examples of which are illustrated in the
herein is for the purpose of describing particular embodi                accompanying drawings, wherein like reference numerals
ments only, and is not intended to limit the scope of the                refer to the like elements throughout. The embodiments are
present invention, which is defined solely by the claims.                described below to explain the present invention by referring
                                                                    15   to the figures.
  As used herein and in the claims, the singular forms include              An example embodiment of a fastening device for securing
the plural reference and vice versa unless the context clearly           roller window shades to the desired wall, window casing, and
indicates otherwise. The term 'or' is inclusive unless modi
                                                                         the like, is shown in FIG. 1. The embodiment includes a
fied, for example, by “either.” For brevity and clarity, a par           bracket (1), mounting plate (2) and a set screw (3). The
ticular quantity of an item may be described or shown while              mounting plate (2) has one side or end adapted to abut a flat
the actual quantity of the item may differ. Other than in the            Surface, and a peg (6) projects from the opposite side. The
operating examples, or where otherwise indicated, all num                mounting plate (2) also bears two apertures (5) through which
bers expressing measurements used herein should be under                 fastening means (e.g., Screws) can be inserted as indicated by
stood as modified in all instances by the term “about, allow             the dashed lines to secure the mounting plate to a flat surface.
ing for ranges accepted in the art.                                 25   The peg (6) bears a screw bore (7) that passes through the
   All patents and other publications identified are expressly           entire peg, and has an internally threaded surface for receiv
incorporated herein by reference for the purpose of describ              ing the set Screw. The bracket (1) is configured with an open
ing and disclosing, for example, the methodologies described             ing (8) to receive the mounting plate (2), and is configured to
in Such publications that might be used in connection with the           abut a flat surface. The bracket (1) also bears a screw bore (9)
present invention. These publications are provided solely for       30   that passes through the entire body (i.e., width) of the bracket,
their disclosure prior to the filing date of the present applica         for receiving the set screw. In the particular embodiment
tion. Nothing in this regard should be construed as an admis             shown in FIG.1, the bracket has an opening (10) for receiving
sion that the inventors are not entitled to antedate such dis            one end of each of two opposing shade tubes, which tubes
closure by virtue of prior invention or for any other reason. All        may interlock within the opening (10). The particular
statements as to the date or representation as to the contents of   35   embodiment also has a bearing (11) within the opening (10),
these documents is based on the information available to the             which allows the tubes to spin freely, minimizing friction and
applicants and does not constitute any admission as to the               wear. Further regarding the bearing, this can be any appropri
correctness of the dates or contents of these documents.                 ately sized commercially available bearing that, when the
  Unless defined otherwise, all technical terms used herein              bracket is so configured, Snaps into place. The bearing can be
have the same meaning as those commonly understood to one           40   metal or ceramic, for example.
of ordinary skill in the art to which this invention pertains.              In use, the mounting plate (2) is secured to a flat Surface
Although any known methods, devices, and materials may be                using screws or other appropriate fastening means that are
used in the practice or testing of the invention, the methods,           inserted through the apertures (5) in the mounting plate (2) in
devices, and materials in this regard are described herein.              the direction indicated by the dashed lines of FIG.1. Once this
   Embodiments of the present invention provide for                 45   the mounting plate (2) is secured, the bracket (1) is inserted
improved means for mounting window shades (roller                        over the mounting plate (2), Such that the flat Surfaces (4.12)
shades), including motorized shades, in which the portion of             align, and the screw bores (7,9) align. A view of this is shown
the mounting means (i.e., the “mount”, “mounting plate', or              in FIG. 2, which also shows the set screw (3) partially inserted
"mounting bracket’) affixed to the Supporting structure (e.g.,           into the bracket (1) screw bore (9). Once the bracket (1) is in
the window casing, walls, columns, etc.) are hidden from            50   place, the set screw (3) is then secured through the bore holes
view by the structure of the bracket or mounting bracket. In             (7,9) of the bracket (1) and peg (6). Note that the end (12) of
Some embodiments, the mounting bracket is a one-piece,                   the bracket and the flat Surface (4) of the mounting plate align
disk-shaped device, having recessed apertures to receive                 to create a flat surface that will evenly abut a complementary
means to secure the mounting plate, and further configured               flat surface. Also note that, in this embodiment, the outer
either to connect to the shade motor or clutch; or to hold a        55   dimensions of the mounting plate (2) fit in the interior of the
shade idler pin or pin. The disk-shape is selected for aesthetic         receiving portion (8) of the bracket (1) in hand-in-glove fash
reasons: to harmonize visually with the round nature of the              ion. The length of the set screw (3) is about equal to the width
shade tube, but other shapes of mounting plates are possible.            of the bracket (1), such that when fully inserted, the set screw
   Another embodiment of the invention provides for a                    (3) joins the peg (6) with both sides of the bracket (1). and the
bracket, a mounting plate, and, optionally, a connecting            60   set screw (3) has no protruding Surfaces. Moreover, in this
means, whereby the bracket and mounting plate are config                 particular embodiment, the screw bore (9) is placed close to
ured such that, in use, the bracket fits over the mounting plate,        the opening (10) for the tube, such that when the shade tubes
being secured together by a connecting means, such that the              are inserted into the fastening device, the screw bore is hidden
mounting plate is hidden by the bracket. Optionally, the con             from view by the shade. Once this fastening device is
necting means can be positioned on the body of the bracket at       65   mounted on the flat surface, the outer circumference (13) is
a location that will be hidden by the shade tube. The connect            visible from the side view; the mounting plate (2) being
ing means that secures the bracket to the mounting plate can             obscured from view. A perspective view of the embodiment
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                               5                                                                     6
affixed to a horizontal, flat surface, is shown in FIG.3, which          This system is advantageous in window casings or between
demonstrates that the mounting plate (2) is no longer visible            pillars, where the mounting bracket is secured to a vertical
once the bracket (1) is in place and secured with the set screw          Surface.
(3). See also FIG.9.                                                        Another embodiment of the invention provides for another
   FIGS. 4A-4C present three embodiments of the fastening                fastening device system for securing a motorized shade, in
device, in which the brackets have been configured to serve as           which the mounting bracket for each end of the shade tube is
a Coupler (see FIGS. 1-3); or as a mount for the motor side of           a single piece rather than amount and bracket assembly. More
a motorized shade tube (MotorWall Mount); or as a mount for              specifically, FIGS. 12A-E show views of an idler mount
the end of the tube opposite the motor (Wall Mount Idler).               (1220). In the embodiment shown in FIGS. 12B-C, the idler
More specifically, the Motor Wall Mount includes a “keying          10   mount (1220) has one side configured to bear against a flat
portion” or “key’ (430) that, in use, provides a structure               Surface and one side (1221) having a projection (1222A)
against which the motorcantorque. The Wall Mount Idler has               having a bore (1223) configured to receive an idlerpin. In the
a hole (431) into which an idler pin can fit. The means con              embodiment shown in FIGS. 12D-E, the idler mount (1220)
                                                                         has two sides having projections (1222A) and (1222B) hav
necting the bracket to the mounting plate in these embodi           15   ing bores (1223) configured to receive an idler pin. The idler
ments comprises a rod (46) that projects into the bracket, the           mount (1220) further comprises an aperture (1255) through
rod including a groove (47) that receives a set Screw. Alter             which fastening means (e.g., Screws) may be inserted. In one
natively, the rod can be configured as a pin to receive a set            embodiment, the aperture (1255) is recessed so that the fas
screw configured as a cam (i.e., a pin and cam or "knock                 tening means are not visible.
down assembly).                                                             The fastening device system of this embodiment can fur
   FIG. 5 presents an alternative fastening device in which the          ther comprise a motor mount. More specifically, FIGS.
bracket (51) slides over the mounting plate (52). More spe               13A-E show views of a motor mount (1320). In the embodi
cifically, mounting plate (52) has two apertures (55) through            ment shown in FIGS. 13B-C, the motor mount (1320) has one
which means are inserted to secure the mounting plate (52) to            side (1321) configured to bear against a flat Surface and one
a flat surface. The mounting plate (52) is configured to have       25   side having a projection (1322A) configured as a key to
flanged portion (516) that fits the complementary base (517)             engage a motor. In the embodiment shown in FIGS. 13D-E,
of the bracket (51). Thus, in use, after the mounting plate (52)         the motor mount (1320) has two sides having projections
is secured to a flat surface, the bracket (51) slides over the           (1322A) and (1322B). The projections (1322A) and (1322B)
mounting plate (52), and hides it from view. The bracket (51)            provide keys against which shade motors can torque. Motor
is further secured by a fastening means inserted through the        30   mount (1320) further comprises an aperture (1355) through
slot (518).                                                              which fastening means (e.g., Screws) may be inserted. In one
   The fastening device comprising a bracket that covers the             embodiment, aperture (1355) is recessed so that the fastening
                                                                         means are not visible.
mounting plate provides an aesthetically pleasing mount, in                According to one embodiment, dual idler mounts, motor
that the means securing the bracket to the structure arc invis      35   mounts and/or mount and bracket assemblies can be provided
ible. Moreover, this device can be secured to vertical or hori           for use with two shades. In addition, three or more shades can
Zontal spaces, thus providing elegant flexibility in window              be fit with a single idler mount, motor mount and/or mount
shade installations.                                                     and bracket assembly constructed in a similar fashion as those
   Another embodiment of the invention provides for a fas                shown and described above. FIGS. 14A-E and 17A-C show
tening device system for securing a motorized shade, in             40   views of dual idler mounts. FIGS. 14A-E show views of an
which the mounting bracket for each end of the shade tube is             idler mount (1420) in a vertical configuration, while FIGS.
a single piece rather than amount and bracket assembly. More             17A-C show views of an idler mount (1720) in a horizontal
specifically, FIG. 6 shows views of an idler mount disk                  configuration. In the embodiment shown in FIGS. 14B-C, the
shaped mounting bracket (620) having one side (621) config               idler mount (1420) has one side (1421) configured to bear
ured to bear against a flat Surface and one side having a           45   against a flat surface and one side having two projections
projection (622) having a bore (623) configured to receive an            (1422A) and (1422B), each having a bore configured to
idler pin. The idler mount (620) further comprises two aper              receive an idler pin (1423). In the embodiment shown in
tures (655) through which fastening means (e.g., Screws) are             FIGS. 14D-E and 17B-C, the idler mount (1420) has two
inserted to secure the flat surface of the idler mount (620) to          sides, each having two projections (1422A) and (1422B).
the appropriate flat surface Wall, window casing, etc. The          50   Projections (1422A) and (1422B) each have a bore (1423)
apertures (655) are configured (i.e., recessed) such that, in            configured to receive and idler pin. The idler mounts (1420)
use, the means affixing the mount to the wall (or casing, etc.)          and (1720) further comprise one or more apertures (1455)
are not visible. Hence, in use, the outer circumference (613)            through which fastening means (e.g., Screws) may be
of the idler mount is visible. See also FIG. 10, FIG. 11.                inserted. In one embodiment, the apertures (1455) are
   The fastening device system of this embodiment further           55   recessed so that the fastening means are not visible.
comprises a motor mount disk-shaped mounting bracket hav                   FIGS. 15A-E and 18A-C show views of dual motor
ing one side configured to bear against a flat surface and one           mounts. FIGS. 15A-E shows views of an motor mount (1520)
side having a projection configured as a key to engage the               in a vertical configuration, while FIGS. 18A-C show views of
motor. See FIG. 10. More specifically, FIG. 7 shows views of             a motor mount (1820) in a horizontal configuration. In the
a motor mount disk-shaped mounting bracket (720) having             60   embodiment shown in FIGS. 15B-C the motor mount (1520)
one side configured to bear against a flat Surface (e.g., a wall,        has one side configured to bear against a flat surface (1521)
window casing) and one side (721) having a projection that               and one side having projections (1540A) and (1540B) con
provides a key (740) against which the shade motor can                   figured as keys to engage a motor. In the embodiment shown
torque. The apertures (755) are configured (i.e., recessed)              in FIGS. 150-E, the motor mount (1520) has two sides having
Such that, in use, the means affixing the mount to the wall (or     65   projections (1540A) and (1540B). The projections (1540A)
casing, etc.) are not visible. Hence, in use, the outer circum           and (1540B) provide keys against which shade motors can
ference (713) of the motor mount is visible. See also FIG. 11.           torque. Motor mounts (1520) and (1820) further comprise
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one or more apertures (1555) through which fastening means                    In used, low Voltage wiring is done behind the motor
(e.g., Screws) may be inserted. In one embodiment, apertures               mounting bracket or motor bracket/mounting plate fastening
(1555) are recessed so the fastening means are not visible.                device. A wire is brought through the window casing (or
  FIGS. 16A-C and 19 A-C show views of dual mount and                      appropriate structure), then the mount or bracket located adja
bracket assemblies for securing window shades to a desired                 cent to the wire. The wire is strung to behind the far (hidden)
surface. FIGS. 16A-C show views of a mount and bracket                     corner of the bracket and connections made behind the
assembly (1620) in a vertical configuration, while FIGS.                   bracket such that the wiring is covered by the bracket.
19A-C show views of a mount and bracket assembly (1920) in                   The fastening devices and systems of the present embodi
a horizontal configuration. Assemblies (1620) and (1920)                   ments are also suitable for use with non-motorized window
include brackets (1601) and (1901), respectively, and mount           10   shades; the particular embodiment selected to complement
ing plates (not shown) within brackets (1601) and (1901)                   the structure at the ends of the non-motorized shade tubes.
similar to mounting plate 2 of FIG. 1. Brackets (1601) and                    When the disk-shaped mounting brackets are installed in a
(1901) are configured with openings to receive the mounting                window casing, there is little room for error because the disk
plates, and are configured to abut a flat Surface. Brackets                is relatively thin. Hence, installers can use mock shade tubes
(1601) and (1901) bear one or more screw bores (1609) that            15   to perfect the installation, then order shades to match the tube
pass through the entire body (i.e., width) of the bracket, for             length. Once the shades arrive, the mock tubes are removed
receiving a set screw through a corresponding screw bore in                from the motor, the motor and idler are installed in the shade,
the mounting plate. Brackets (1601) and (1901) have open                   and the installation completed.
ings (1610) for receiving one end of each of two opposing                    The invention claimed is:
shade tubes, which tubes may interlock within the opening                    1. A fastening device for mounting a roller window shade,
(1610). Each opening (1610) has a bearing (1611), which                    comprising:
allows the tubes to spin freely, minimizing friction and wear.               a mounting plate having one side adapted to bear against a
   FIG. 20 is a perspective view of still another dual mount                    flat surface and a second side opposite the first side
and bracket assembly for securing window shades to a desired                    having a peg projecting therefrom, and two apertures
surface. In this embodiment, assembly (2020) comprises                25        configured to receive a fastener for securing the mount
brackets (2001A) and (2001B), which are formed at a 90                          ing plate disposed on either side of the peg, wherein a
degree angle with respect to each other for positioning in a                    Screw bore extends through the peg for receiving a set
coner, for example. Assembly (2020) further comprises                           screw, and wherein the screw bore has an internally
mounting plates (not shown) within each of brackets (2001A)                        threaded surface;
and (2001B), in a similar fashion as is shown and described           30     a bracket having one end adapted to bear against the flat
with respect to mounting plate 2 of FIG.1. Brackets (2001A)                     surface, wherein the bracket is configured to fit over the
and (2001B) are configured with openings to receive the                         mounting plate and receive the peg, and wherein the
mounting plates, and are configured to abut a flat Surface                      bracket has a screw bore extending therethrough for
(2021). Brackets (2001A) and (2001B) each bear a screw bore                     receiving the set screw; and
(2009) that passes through the entire body (i.e., width) of the       35     wherein the set Screw has a length equal to or less than the
bracket, for receiving a set screw through a corresponding                         width of the bracket;
screw bore in the mounting plate. Brackets (2001A) and                       wherein the bracket and mounting plate are configured
(2001B) each have an opening (2010) for receiving one end of                    such that when the bracket is fitted over the mounting
a shade tube. The shade tube may interlock within the open                      plate, the screw bores of the mounting plate peg and
ings (2010). Each opening (2010) has a bearing (2011), which          40        bracket are aligned to receive the set Screw; and
allows the tube to spin freely, minimizing friction.                         wherein the mounting plate and bracket are configured
   FIG. 21 is a perspective view of a bracket (2100) having an                  Such that when the mounting plate abuts the flat surface
opening therethrough according to an embodiment. In some                        and the bracket is placed over the mounting plate, the
embodiments, the bracket (2100) can have an opening (2110)                      bracket obscures the view of the mounting plate.
for a wiring (2120), and the opening (2110) can extend from           45     2. The fastening device of claim 1, wherein the bracket has
a side (2130) of the bracket (2100) adapted to bear against a              a receiving portion configured to receive an idler pin of a
flat surface (such as a wall, not illustrated) to an area (2140) of        motorized shade tube.
the bracket adjacent to the roller window shade (not illus                   3. The fastening device of claim 2, wherein the fastening
trated) to permit the wiring (2120) to pass from the flat surface          device is configured to mount at least two window shades,
through the opening in the bracket (2100) and to the roller           50   wherein at least one window shade is motorized, wherein the
window shade. As such, the bracket (2100) obscures the view                bracket has a key portion configured to engage a key of the
of the wiring (2120). The wiring can, in some embodiments,                 motorized shade tube, wherein the bracket has a tube-receiv
be used to supply power to a motor for use with the roller                 ing bore extending therethrough, and wherein the tube-re
window shade. The opening in the bracket for the wiring is                 ceiving bore is configured to receive one end from each of two
not limited to the configuration shown in FIG. 21, and can be         55   shade tubes.
provided in any bracket for mounting a window shade.                          4. The fastening device of claim 1, wherein the bracket has
   A further embodiment of the present invention provides for              a key portion configured to engage a key of a motorized shade
a fastening device system comprising the single-piece, disk                tube.
shaped idler and motor mounts and the fastening device com                   5. The fastening device of claim 1, wherein the bracket has
prising the mounting plate and bracket. As shown in FIG. 11,          60   a tube-receiving bore extending therethrough, wherein the
this system is useful when using two shade tubes, with the                 tube-receiving bore is configured to receive one end from
motor mount and idler mount at the outer ends of the two                   each of two shade tubes.
shades, and the fastening device configured as a coupler in                  6. The fastening device of claim 5, wherein the tube-re
between, maintain the connection of the two shades in com                  ceiving bore further comprises a bearing.
munication with the motor. This embodiment can be adapted             65     7. The fastening device of claim 1, further comprising two
to secure a number of shades, by using the required number of              screws configured to secure the mounting plate against the flat
coupler fastening devices.                                                 Surface.
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   8. The fastening device of claim 1, wherein the bracket                 a bracket having one end adapted to bear against the flat
comprises an opening for wiring, wherein the opening                          surface, wherein the bracket is configured to fit over the
extends from the side of the bracket adapted to bear against                  mounting plate and receive the projection from the
the flat surface to an area of the bracket adjacent to the roller             mounting plate, and wherein the bracket further includes
window shade, and wherein the bracket obscures the view of 5                  an aperture for receiving the connector;
the wiring.                                                                wherein the connector connects the bracket to the mount
  9. A fastening device system for mounting a roller window                  ing plate:
shade, comprising:                                                         wherein the mounting plate and the bracket are configured
  two disk-shaped mounting brackets, each having one side                    Such that when the mounting plate abuts the flat surface
     configured to bear against a flat surface and one side 10               and the bracket is placed over the mounting plate, the
     having a projection configured to hold an end of a tube                 bracket obscures the view of the mounting plate:
     shade, wherein each of the mounting brackets have two                 wherein the bracket is configured to key a shade tube:
     recessed apertures therethrough constructed and                       wherein the bracket is configured to receive a pin from a
     arranged to receive a fastener to secure the mounting                     shade tube; and
     bracket to the flat surface;                                   15      wherein the bracket is configured to receive one end from
  wherein, when holding a window tube shade, the outer                         each of two opposing shade tubes.
    circumferences of each disk-shaped mounting bracket is                  13. The fastening device of claim 12, wherein the connec
    visible and the fastener is obscured by the window tube              tor connecting the bracket to the mounting plate includes a set
                                                                         SCCW.
      shade; and
                                                                 14. The fastening device of claim 12, wherein the fastening
   wherein the projection of at least one of the mounting 20 device   is configured to mount at least two windows shades,
      brackets is configured as a key to engage a tube shade and wherein
      clutch or a tube shade motor.                                          at least one window shade is motorized.
   10. The fastening device system of claim 9, wherein the       15. A  fastening   device system for mounting a roller win
projection of at least one of the mounting brackets is config dowtwoshade, comprising:
                                                                      disk-shaped mounting brackets, each having one side
ured to receive a tube shade pin or a motorized tube shade 25       configured to bear against a flat surface and one side
idler pin.                                                          having a projection configured to hold an end of a tube
   11. The fastening device system of claim 9, wherein each of
the mounting brackets further comprise a tube-receiving bore        shade, wherein each of the mounting brackets have two
extending therethrough, wherein each of the tube-receiving          recessed apertures therethrough constructed and
bores are configured to receive one end from each of two tube 30    arranged to receive a fastener to secure the mounting
shades.                                                             bracket  to the flat surface;
   12. A fastening device for mounting a roller window shade,    wherein, when holding a window tube shade, the outer
comprising:                                                         circumferences of each disk-shaped mounting bracket is
   a mounting plate having one side adapted to bear against a       visible and the fastener is obscured by the window tube
                                                                    shade; and
      flat surface and a second side opposite the first side 35 wherein
      having a projection therefrom, and two apertures con                 the projection of at least one of the mounting
      figured to receive a fastener for securing the mounting       brackets  is configured to receive a tube shade pin or a
      plate to the flat surface, wherein the projection is con      motorized tube shade idler pin.
     figured to insert into a bracket and receive a connector;                                  ck   ck   ck   ck   ck
